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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 Sergei Chepilko,                                                        10/20/2020

                                Plaintiff,
                                                             1:18-cv-02195 (ALC) (SDA)
                    -against-
                                                             ORDER
 The City of New York et al.,

                                Defendants.


STEWART D. AARON, UNITED STATES MAGISTRATE JUDGE:

       Following a telephone conference with the parties, and for the reasons stated on the

record, it is hereby Ordered as follows:

       1. Defendants shall provide to Plaintiff affidavits setting forth the contents of the

           logbook entries of Defendant Henry and Defendant Chowdhury, as well as non-parties

           Wilmer Marquez, Mark Kwon and Frank Peeters, at or before the time they file their

           anticipated motion for summary judgment. (See ECF No. 44-1.) Notwithstanding that

           deadline, Defendants shall use their best efforts to provide Plaintiff with all five

           Affidavits prior to the date they file their pre-motion letter regarding such motion.

       2. Plaintiff’s additional request that Marquez, Kwon and Peeters respond to

           interrogatories, served on the final day of discovery, is denied for the reasons stated

           on the record.

       3. No later than November 20, 2020, Plaintiff shall provide to Defendants an executed

           version of his CPL § 160.50 release that is sworn to before a notary public.
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     The Clerk of the Court is directed to mail a copy of this Order to the pro se Plaintiff.

SO ORDERED.

DATED:        New York, New York
              October 20, 2020

                                                    ______________________________
                                                    STEWART D. AARON
                                                    United States Magistrate Judge




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